Case 5:24-cv-00316-TJC-PRL Document 49 Filed 07/30/24 Page 1 of 3 PageID 347




                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              OCALA DIVISION

   PROPERTIES OF THE VILLAGES,
   INC.,

         Plaintiff,
                                                      Case No. 5:24-cv-316-TJC-PRL
   v.

   FEDERAL TRADE COMMISSION,

         Defendant.


                                        ORDER

         THIS CASE is before the Court on Plaintiff’s Motion for Stay of Effective

   Date and Preliminary Injunction (Doc. 25) and other motions related to the

   filing of amicus briefs and a re-filed brief (Docs. 40, 41, 44, 48).

         Upon review, it is hereby

         ORDERED:

         1.     Plaintiff’s Request for Oral Argument (Doc. 26) is GRANTED. The

   Court will hold an in-person hearing on August 14, 2024, at 2:00 p.m. before

   the undersigned on Plaintiff’s Motion for Stay of Effective Date and Preliminary

   Injunction (Doc. 25) in the United States Courthouse, Courtroom 10D, 300
Case 5:24-cv-00316-TJC-PRL Document 49 Filed 07/30/24 Page 2 of 3 PageID 348




   North Hogan Street, Jacksonville, Florida.1 Amici curiae are welcome to attend

   the hearing but the Court will only hear argument from the parties.

         2.    Defendant’s Unopposed Motion for Leave to Re-file Defendant’s

   Memorandum in Opposition to Plaintiff’s Motion for Stay of Effective Date and

   Preliminary Injunction Conforming to Local Rules and in Excess of Page Limit

   (Doc. 41) is GRANTED. Defendant shall refile its response brief, up to 39 pages,

   no later than August 1, 2024. Plaintiff may file its reply, up to ten pages, no

   later than August 9, 2024.

         3.    The Unopposed Motions of Amici Curiae to file amicus briefs (Docs.

   40, 44, 48) are GRANTED. The proposed briefs attached to those motions

   (Docs. 40-1, 44-1, 48-1) shall be deemed to be part of the record.

         4.    No responses to amicus briefs will be permitted.

         5.    Because of the expedited schedule, the Court will not consider any

   further motions for leave to file amicus briefs unless filed not later than August

   5, 2024.




         1 Although this case was filed in the Ocala Division, the undersigned is
   in the Jacksonville Division and it appears that Jacksonville is likely just as
   convenient for counsel.
         All persons entering the Courthouse must present photo identification to
   Court Security Officers. Although cell phones, laptop computers, and similar
   electronic devices generally are not permitted in the building, attorneys may
   bring those items with them to the extent permitted by Local Rule 7.02.


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Case 5:24-cv-00316-TJC-PRL Document 49 Filed 07/30/24 Page 3 of 3 PageID 349




           DONE AND ORDERED in Jacksonville, Florida the 30th day of July,

   2024.




   s
   Copies:

   Counsel of record




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